
82 So. 3d 1055 (2011)
Bobby Brian PHILLIPS, Appellant,
v.
FLORIDA DEPARTMENT OF REVENUE, o/b/o Christina LAND, Appellee.
No. 1D11-0725.
District Court of Appeal of Florida, First District.
October 31, 2011.
Joy N. Owenby and Amanda Meyer, Jacksonville, for Appellant.
Pamela Jo Bondi, Attorney General, and Toni C. Bernstein, Senior Assistant Attorney General, Tallahassee, for Appellee.

ON MOTION FOR CLARIFICATION
PER CURIAM.
Bobby Brian Phillips appeals a Final Administrative Order Reinstating Support Obligations entered by the Department of Revenue on January 27, 2011. The Department of Revenue professionally and correctly concedes that the order was entered without notice to Phillips as required by section 409.2563, Florida Statutes (2010). Accordingly, the order under review *1056 is VACATED, and the cause is REMANDED.
DAVIS, VAN NORTWICK, and CLARK, JJ., concur.
